Case 23-10763-mdc           Doc 587       Filed 02/15/24 Entered 02/16/24 07:53:17                   Desc Main
                                         Document Page 1 of 2



                            UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF PENNSYLVANIA

                                                             :
     In re:                                                  :
                                                             :    Chapter 11
     Stream TV Networks, Inc.,1                              :
                                                             :    Case No. 23-10763-MDC
                             Debtor.                         :
                                                             :

                                                             :
     In re:                                                  :
                                                             :    Chapter 11
     Technovative Media, Inc.,                               :
                                                             :    Case No. 23-10764-MDC
                             Debtor.                         :
                                                             :

        ORDER GRANTING APPLICATION OF THE CHAPTER 11 TRUSTEE TO
                  EMPLOY STEVEN M. COREN, ESQUIRE AND
      COREN & RESS, P.C. AS SPECIAL COUNSEL TO THE CHAPTER 11 TRUSTEE

          AND NOW this               15th day of                 February     , 2024, upon consideration of

 the Application of William A. Homony, Chapter 11 Trustee (the “Chapter 11 Trustee”) for the

 bankruptcy estates of Stream TV Networks, Inc. and Technovative Media, Inc. (collectively, the

 “Debtors”) to employ Steven M. Coren, Esquire and Coren & Ress, P.C. (collectively, “C&R”),

 as Special Counsel to the Chapter 11 Trustee (the “Application”) in this bankruptcy case, and the

 Court being satisfied that C&R does not represent any other party-in-interest or hold an interest

 adverse to the Debtors in their bankruptcy cases and is a disinterested person within the meaning

 of 11 U.S.C. § 101(14), it is hereby:

          ORDERED that the Application is granted in its entirety; and it is further




 1
  The Debtors, along with the last four digits of the Debtors’ federal tax identification numbers, are Stream TV
 Networks, Inc. (4092) and Technovative Media, Inc. (5015). The location of the Debtors’ service address is: 2009
 Chestnut Street, 3rd Floor, Philadelphia, PA 19103.

 4858-0927-7089 v1
 4858-0927-7089 v2
Case 23-10763-mdc             Doc 587       Filed 02/15/24 Entered 02/16/24 07:53:17                       Desc Main
                                           Document Page 2 of 2



          ORDERED that the Chapter 11 Trustee is hereby authorized to retain and employ C&R,

 as Special Counsel in the within proceeding under Chapter 11 of the United States Bankruptcy

 Code;2 and it is further

          ORDERED that the terms of C&R’s compensation set forth in the Fee Agreement are

 preapproved under 11 U.S.C. Section 328(a); and it is further

          ORDERED that compensation for professional services of C&R shall be charged at the

 hourly billing rate as follows:

               a. Steven M. Coren, Esq.                                   $1,100.00 per hour

               b. Partners and Associates                                 $400.00 - $700.00 per hour

               c. Paralegals                                              $125.00 per hour; and it is further

          ORDERED that compensation to C&R is only to be allowed by order of this Court upon

 submission of an application for compensation in conformity with the United States Bankruptcy

 Code, applicable Bankruptcy Rules, and In re Busy Beaver Building Center, Inc., 19 F.3d 833 (3rd

 Cir. 1994).


                                                       BY THE COURT:



                                                       The Honorable Magdeline D. Coleman
                                                       Chief United States Bankruptcy Judge




 2
  C&R reserves all rights to seek compensation for professional services and reimbursement of expenses from
 January 24, 2024 forward and all parties reserve their rights to object to such compensation consistent with this
 Order.

 4858-0927-7089 v1                                         2
 4858-0927-7089 v2
